4:12-cr-03059-JMG-CRZ               Doc # 108   Filed: 08/17/12      Page 1 of 1 - Page ID # 280



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                       4:12CR3059

       vs.
                                                             MEMORANDUM AND ORDER
NHU VAN PHAN, TANG (JANNY) NGUYEN,

                       Defendants.


       Defendant Nhu Van Phan has moved to continue the trial currently set for August 28, 2012.
(Filing No. 104). As explained in the motion, defense counsel is not available during the current trial
setting, and the parties are still engaged in plea negotiations. The motion to continue is unopposed.
Based on the showing set forth in the motion, the court finds the motion should be granted.
Accordingly,

       IT IS ORDERED:

       1)       Defendant Nhu Van Phan’s motion to continue, (filing no. 104), is granted.

       2)      As to both defendants, the trial of this case is set to commence before the Honorable
               John M. Gerrard, in Courtroom 1, United States Courthouse, Lincoln, Nebraska at
               9:00 a.m. on October 16, 2012, or as soon thereafter as the case may be called, for a
               duration of six (6) trial days. Jury selection will be held at commencement of trial.

       3)      Based upon the showing set forth in the defendant Nhu Van Phan’s motion and the
               representations of counsel, the Court further finds that the ends of justice will be
               served by continuing the trial; and that the purposes served by continuing the trial
               date in this case outweigh the interest of the defendant and the public in a speedy
               trial. Accordingly, as to both defendants, the additional time arising as a result of
               the granting of the motion, the time between today’s date and October 16, 2012, shall
               be deemed excludable time in any computation of time under the requirements of the
               Speedy Trial Act, because despite counsel’s due diligence, additional time is needed
               to adequately prepare this case for trial and failing to grant additional time might
               result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7).


               August 17, 2012.

                                                       BY THE COURT:

                                                       s/ Cheryl R. Zwart
                                                       United States Magistrate Judge
